Case 1:19-cv-03304-ABJ Document 27 Filed 06/01/20 Page 1of5

AFFIDAVIT OF NON-SERVICE

 

 

 

 

 

Case: Court: County: Job:

1:19-CV-03304 US District Court for the District of Columbia District Of Columbia, DC 4544374

Plaintiff / Petitioner: Defendant / Respondent:

Henok A. Mengesha Benidia Rice, The District of Columbia Mayor Bowser, Magda
Benfield, James Kevin Mcintyre, Nicole M. Reece, & Yajaira Briganty

Received by: For:

District Legal Services, LLC Henok A. Mengesha

 

 

To be served upon:
Nicole M. Reece

 

 

 

|, Ellen Hebert, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein.

Recipient Name/Address: Nicole M. Reece, Home: 7525 Morningside Drive NW, Washington, DC 20012
Manner of Service: Unsuccessful Attempt

Documents: Amended Complaint (Received May 19, 2020 at 1:50pm EDT), Summons in a Civil Action (Received May 19,
2020 at 1:50pm EDT)

Additional Comments:

1) Unsuccessful Attempt: May 19, 2020, 8:08 pm EDT at Home: 7525 Morningside Drive NW, Washington, DC 20012

Location is a free standing two story red brick house with black shutters. | spoke to a man who identified himself as Ms. Reece's boyfriend
He would not take the document or provide his name. He is about 50 years old, 5'9", 180 Ibs. with short, salt and pepper hair.

2) Unsuccessful Attempt: May 21, 2020, 3:02 pm EDT at Home: 7525 Morningside Drive NW, Washington, DC 20012
Rang the bell a couple times. No response. No sign of anyone inside.

3) Unsuccessful Attempt: May 23, 2020, 10:21 arm EDT at Home: 7525 Morningside Drive NW, Washington, DC 20012
| spoke to a man through the door. He asked"Who is it?" to which | replied "Hello, I'm looking for Nicole Reece.”. There was no further
communication and no one came to the door in spite of continued knocking on the front door and ringing the bell.

| solemnly affirm under the penalties of perjury that the contents of the foregoing paper are true to the best of my knowledge,
information, and belief.

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Ellen Hebert Date

Subscribed and sworn to befgre me by the affiant who is

 
 
   

 

FRANCU A. PONCE UE LEON
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Contractor of
District Legal Services, LLC

 

- . Date Commission Expires
1615 New Hampshire Avenue, NW Suite #400
Washington, DC 20009
202.780.6556

 

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, U.S. District Court, District of Columbia
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AFFIDAVIT OF NON-SERVICE

 

 

 

 

 

Case: Court: County: Job:

1:19-CV-03304 | US District Court for the District of Columbia District Of Columbia, DC 4544423

Plaintiff / Petitioner: Defendant / Respondent:

Henok A. Mengesha Benidia Rice, The District of Columbia Mayor Bowser, Magda
Benfield, James Kevin Mcintyre, Nicole M. Reece, & Yajaira Briganty

Received by: For:

District Legal Services, LLC Henok A. Mengesha

 

 

To be served upon:
Yajaira Briganty

 

 

 

|, Ellen Hebert, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein.

Recipient Name/Address: Yajaira Briganty, Home: 12103 Wilmont Turn, Bowie, MD 20715
Manner of Service: Bad Address

Documents: Amended Complaint (Received May 19, 2020 at 1:50pm EDT), Summons in a Civil Action (Received May 19,
2020 at 1:50pm EDT)

Additional Comments:

1) Unsuccessful Attempt: May 20, 2020, 12:43 pm EDT at Home: 12103 Wilmont Turn, Bowie, MD 20715

The new resident moved in January and doesn't know the named party. The current resident is a black male, about 60 years old, 6'3", 300
Ibs. He has dark brown skin and eyes, grey hair with some facial hair. He was wearing a grey tee shirt. This is a bad address,

| solemnly affirm under the penalties of perjury that the contents of the foregoing paper are true to the best of my knowledge,
information, and belief.

Subscribed and sworn to before me by the affiant who is

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Ellen Hebert Date qaPublic FRANCO A, PONCE DE LEON

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Contractor of G/28l2d20 My Commission Expires November 14, 2023
District Legal Services, LLC Date Commission Expires

1615 New Hampshire Avenue, NW Suite #400
Washington, DC 20009
202.780.6556

 

    
       

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AFFIDAVIT OF NON-SERVICE

 

 

 

 

 

Case: Court: County: Job:

1:19-CV-03304 US District Court for the District of Columbia District Of Columbia, DC 4543925

Plaintiff / Petitioner: Defendant / Respondent:

Henok A. Mengesha Benidia Rice, The District of Columbia Mayor Bowser, Magda
Benfield, James Kevin McIntyre, Nicole M. Reece, & Yajaira Briganty

Received by: For:

District Legal Services, LLC Henok A. Mengesha

 

 

To be served upon:
Magda Benfield

 

 

 

|, Ellen Hebert, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein.

Recipient Name / Address: Magda Benfield, Home: 14421 Mayfair Drive Apartment 31, Laurel, MD 20707
Manner of Service: Unsuccessful Attempt

Documents: Amended Complaint (Received May 19, 2020 at 1:50pm EDT), Summons in a Civil Action (Received May 19,
2020 at 1:50pm EDT)

Additional Comments:

1) Unsuccessful Attempt: May 20, 2020, 3:51 pm EDT at Home: 14421 Mayfair Drive Apartment 31, Laurel, MD 20707

| spoke to a man through a window by the front door. | couldn't get a good look at him. He is a black man, about 65 years old, average
height, thin build. He has greying facial hair. He said | would have to try back another day. 14421 Mayfair Drive is a 3 story, 1 car garage
townhouse at the end of a row of townhouses with pale yellowish siding.

2) Unsuccessful Attempt: May 21, 2020, 8:52 pm EDT at Home: 14421 Mayfair Drive Apartment 31, Laurel, MD 20707
No response to repeated knocking on the front door.

3) Unsuccessful Attempt: May 23, 2020, 11:36 am EDT at Home: 14421 Mayfair Drive Apartment 31, Laurel, MD 20707
No response to repeated knocking on the front door and small window next to the door. No sign of anyone inside.

| solemnly affirm under the penalties of perjury that the contents of the foregoing paper are true to the best of my knowledge,
information, and belief.

Subscribed and sworn to before me by the affiant who is
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Case: Court: County: Job:

1:19-CV-03304 US District Court for the District of Columbia District Of Columbia, DC 4544352

Plaintiff / Petitioner: Defendant / Respondent:

Henok A. Mengesha Benidia Rice, The District of Columbia Mayor Bowser, Magda
Benfield, James Kevin Mcintyre, Nicole M. Reece, & Yajaira Briganty

Received by: For:

District Legal Services, LLC Henok A. Mengesha

 

To be served upon:
James Kevin Mcintyre

 

 

 

|, Ellen Hebert, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein.

Recipient Name/Address: James Kevin McIntyre, Home: 3702 Presidential Golf Drive, Upper Marlboro, MD 20774
Manner of Service: Personal/Individual, May 20, 2020, 8:52 am EDT

Documents: Amended Complaint (Received May 19, 2020 at 1:50pm EDT), Summons in a Civil Action (Received May 19,
2020 at 1:50pm EDT)

Additional Comments:

1) Successful Attempt: May 20, 2020, 8:52 am EDT at Home: 3702 Presidential Golf Drive, Upper Marlboro, MD 20774 received by James
Kevin Mcintyre. Age: 45; Ethnicity: African American; Gender: Male; Weight: 180; Height: 6'2"; Hair: Brown; Eyes: Brown; Other: Mr. Mcintyre
has a mustache and was wearing a robe, Redskins sandals and wire rim glasses.;

3702 Presidential Golf Drive is a large house with a brick edifice, dark red shutters and a 2 car garage. It is offset from the road
behind/between 2 houses on either side.

| solemnly affirm under the penalties of perjury that the contents of the foregoing paper are true to the best of my knowledge,
information, and belief.

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Ellen Hebert Date

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Case 1:19-cv-03304-ABJ Document 27 Filed 06/01/20 Page 5of5

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Case: Court: County: Job:

1:19-CV-03304 US District Court for the District of Columbia District Of Columbia, DC 4544460

Plaintiff / Petitioner: Defendant / Respondent:

Henok A. Mengesha Benidia Rice, The District of Columbia Mayor Bowser, Magda
Benfield, James Kevin Mcintyre, Nicole M. Reece, & Yajaira Briganty

Received by: For:

District Legal Services, LLC Henok A. Mengesha

 

To be served upon:
Benidia Rice

 

 

 

|, Ellen Hebert, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein.

Recipient Name/Address: Benidia Rice, Home: 1783 Verbena Street NW, Washington, DC 20012
Manner of Service: Personal/Individual, May 19, 2020, 8:26 pm EDT

Documents: Amended Complaint (Received May 19, 2020 at 1:50pm EDT), Summons in a Civil Action (Received May 19,
2020 at 1:50pm EDT)

Additional Comments:

1) Successful Attempt: May 19, 2020, 8:26 pm EDT at Home: 1783 Verbena Street NW, Washington, DC 20012 received by Benidia Rice. Age:
65; Ethnicity: African American; Gender: Female; Weight: 140; Height: 5'4"; Hair: Other; Eyes: Brown; Other: Ms. Rice wore a face mask and
what may have been pajamas. Her hair is black with a little grey.;

1 solemnly affirm under the penalties of perjury that the contents of the foregoing paper are true to the best of my knowledge,
information, and belief.

Subscribed and sworn to before me by the affiant who is

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Ellen Hebert Date

 
  

 

 

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District Legal Services, LLC

1615 New Hampshire Avenue, NW Suite #400
Washington, DC 20009

202.780.6556

Date Commission Expires

 
